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                             Exhibit A
         Case 3:21-cv-00055-SMY Document 1-1 Filed 01/14/21 Page 2 of 23 Page ID #7
         This form is approved by the Illinois Supreme Court and is required to be accepted in all Illinois Circuit Courts.
                                                                                             For Court Use
         STATE OF ILLINOIS,
            CIRCUIT COURT
                                                              SUMMONS
        Williamson         COUNTY

  Instructions ®
Enter above the
county name where
the case was filed.        Roxann Hall on behalf of herself and a class of others
Enter your name as          Plaintiff / Petitioner (First, middle, last name)
Plaintiff/Petitioner.
Enter the names of all
people you are suing as     V.
Defendants/

Enter the Case             Meridian Senior Living, LLC                                               2020CH80
Number given by the        Defendant / Respondent (First, midd/e, /ast name)                         Case Number
Circuit Clerk.


In 1, if your lawsuit is    1.    Information about the lawsuit:
for money, enter the
                                  Amount claimed:           $ For each class member, more than $1,000 per violation
amount of money you
seek from the
Defendant/                  2.    Contact information forthe Plaintiff/Petitioner:
Respondent.                       Name (First, Middle, Last):     Roxann Hall c/o Bock Law Firm, LLC
In 2, enter your                  Street Address, Apt #:         134 N. LaSalle St. Suite 1000
contact information.
                                  City, State, ZIP:     Chicago IL 60602
If more thaazi 1 person
is bringing this                  Telephone:       312-658-5501
lawsuit, attach an                See attached for additional PlaintifP/Petitioner contact information
Additional
Plaintiff/Petitioner
Contact Information         3.    Contact information for the Defendant/Respondent:
form.                             Name_(First,_Middle, Last)__Meridian Senior Living, LLC c/o Illinois Corporation Service C
In 3; enter the name of           Street Address, Apt #:        801 Adlai Stevenson Drive
the person you are
                                  City, State, ZIP: Springfield, IL 62703
suing and their
address.                          Telephone: .
Ifmorethan 1 person.is            See attached for additional Defendant/Respondent contact information
being sued, attach an
Additional
Defendant/Respondent
Contactlnformation
form.




                                      You have been sued.
                                      Follow the instructions on the next page on how to appear/answer.
                                          •    If you do not appear/answer the court may decide the case without hearing from you and
                                               enter a judgment against you for what the plantiff/petitioner is asking.
Important Information for the
person receiving this form••              •    Your written appearance/answer must be filed on time and in the proper form.
                                          •    Forms for a written appearance/answer are available here:
                                               littp:Hw-ww.illinoiscoui-ts.gov/forms/approved/default.asi)
                                      If you cannot afford to pay the fee for filing your appearance/answer, ask the circuit clerk for an
                                      application for waiver of court fees.
                                      You should read all of the documents attached.




SU-S 1503.1                                                      Page 1 of 4                                                        (09/18)
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                                                                Enter the Case Number given by the Circuit Clerk:

        In 4, the Circuit Clerk    4.   Instructions for person receiving this form (Defendant/Respondent):
        will give you the court
                                        To respond to this Summons you must:
        date or appearance
        date, check any boxes           ❑    Go to court:
        that apply, and include              On this date:                        at this time:             ❑                                   a.m. ❑ p.m.
        the address of the
        court building and                   Address:                                           Court Room:
        room where the                       City, State, ZIP:
        Defendant/
        Respondent must file
                                        U       File a written Appearance and Answer/Response with the court:
        their response.
                                                On or before this date:              at this time:                                         ❑    a.m. M_j p.m.
                                                Address:
                                                City, State, ZIP:

                                        ❑       File a written Appearance and Answer/Response with the court within 30 days from
                                                the day you receive this Summons (listed below as the "Date of Service").
                                                On this date:                         at this time:                 ❑ a.m. 0 p.m.
                                                Address:
                                                City, State, ZIP:


                  STOP!            Witness this Date:                                                                                                    Sea1of court
        The Circuit Clerk will                                  12    /2020                                                  ~~,l~~~'0 j~++~,,~
                                                                                                                         titi                  +
        fill in this section.
                                   Clerk of the Coun`.:                                                              .``G G~~T Ca(~,Q~..
                                                                                                                   .`                        _   '
                                                                                                               -=*           F1RST             * ""
                                                                                                              = r : JUDICIAL                         "
                                                                                                               f    ~f =•   CIRCUIT
                                                                                                               "~",~~>~,'•- . .. • -`,~
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    =           STOP!              This Summons must be served within 30 days of its date, listed above.                                                      -
        The officer or process                                                                                                                                          -
        server will fill in the
        Date of Service.
                                   Date of Service:
                                   - -           -- -
-                                 --     ----           --(Date to be entered by an officer or process server on the copy of this Summons left
                                                          with the Defendant/Respondent or other person.)



                                  To serve this Summons, you must hire the sheriff (or a private process server outside of Cook County) to
                                  deliver it and your Complaint/Petition to the Defendant/Respondent. If the sheriff (or private process
                                  server outside of Cook County) tries but can't serve the Summons, fill out another summons and repeat this
         Plaintiff/Petitioner:    process.




                                  E-Filing is now mandatory for documents in civil cases with limited exemptions. To e-file, you must first
                                  create an account with an e-filing service provider. Visit http://efile.illinoiscourts.pov/service-.provi.ders.litm
               Attention:
                                  to learn more and to select a service provider. If you need additional help or have trouble e-filing, visit
                                  http://www.illinoiscoui-ts.gov/faq/gethelp.asp . or talk with your local circuit clerk's office.




        SU-S 1503.1                                                      Page 2 of 4                                                                           (09/18)
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                                                                                                           FILED
                                                                                     Williamson Co. Circuit Court
                                                                                              1st Judicial Circuit
                                                                                      Date: 11/23/2020 4:08 PM
                                                                                              Andrew W. Wilson


              IN THE CIRCUIT COURT OF wTT.T.TAMSON COUN'1'Y, ILLINOIS
                               CHANCERY DIVISION

       ROXANN HALL, individually and as
       the representative of a class of
       similarly situated persons,
                                                 No.    2020CH80
                           Plaintiff,

             ►tf                                 CLASS ACTION

       MERIDIAN SENIOR LIVING, LLC,              JURY TRIAL DEMANDED

                           Defendant.

                                 CLASS ACTION COMPLAINT

            NOW COMES Roxann Hall, individually and on behalf of all others similarly

      situated ("Plaintiff'), by and through undersigned counsel, alleging as follows against

      Meridian Senior . Living, LLC ("Defendant"), upon personal knowledge as to facts

      known to her and otherwise upon information and belief following investigation of

      counsel:

=                                       INTRODUCTION

-=          1.     Defendant is a private entity that owns, operates, or manages "senior

      living communities."

            2.     This case seeks liquidated damages and other relief -for persons

      employed in Illinois and subjected to Defendant's practice of collecting, capturing, or

      otherwise obtaining ("collecting") or using "biometric identifiers" or "biometric

      information" ("biometrics") in violation of the Biometric Information Privacy Act, 740

      ILCS 14/1, et seq. ("BIPA"), an Illinois statute regulating and protecting the privacy

      of biometrics.
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              3.      Defendant has collected, captured, or otherwise obtained ("collected")

       biometrics (including fingerscans and retina or iris scans) collected from Plaintiff and

       others working in Illinois.

              4.      Defendant has collected biometrics in Illinois: (a) without first disclosing

       in writing that it was collecting or capturing biometrics, and without stating in

       writing the specific purpose and length of term for which those biometrics were being

       collected, stored, and used; and (b) without first obtaining informed written consent

       or an executed release.

              5.      Upon information and belief, Defendant has no publicly available

       retention schedule or guidelines for permanently destroying biometrics when the

       initial purpose for collecting or obtaining such biometrics has been satisfied or within

       3 years of the individual's last interaction with Defendant, whichever occurs first.

              6. .- Plaintiff seeksrelief for herself and a class of others similarly situated.

                                               PARTIES

--      -     7.      Plaintiff, Roxann Hall, is an individual living in Carbondale, Illinois.

       She has been an Illinois resident at all relevant times.

              8.      Defendant is a Delaware corporation headquartered at 6931 Arlington

       Rd, Suite 320, Bethesda, MD 20814. Defendant is registered with the Office of the

       Illinois Secretary of State and has identified Illinois Corporation Service C, 801 Adlai

       Stevenson Drive, Springfield, IL 62703 as its registered agent for service of process

       in Illinois.




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         9.     Defendant manages more than 85 senior living communities in 21 states

  across the U.S., including Illinois, and is one of the nation's top 20 seniors housing

  operators.l

                              JURISDICTION AND VENUE

         10.    Jurisdiction is proper in Illinois pursuant to 735 ILCS 5/2-209, because

  Defendant conducts business in Illinois, because Defendant owns, uses, or possesses

  real estates in this State, or because has committed tortious acts in this State as

  alleged herein.

         11.    Venue is proper in Williamson County pursuant to 735 ILCS 5/2-101,

  because Defendant is doing business in Williamson County, Illinois.

                      BACKGROUIVD AND ENFORCEMENT OF BIPA

         12.    The Illinois Legislature enacted BIPA to address the "very serious need

  [for] protections for the -citizens of Illinois when it [comes to their] biometric

  information." See Illinois House Transcript, 2008 Reg. Sess. No. 276; 740 ILCS 14/5.

        13.     In pertinent part, BIPA provides:

                No private entity may collect, capture, purchase, receive through
                trade, or otherwise obtain a person's or a customer's biometric
                identifier or biometric information, unless it first:

                (1)    informs the subject ... in writing that a biometric identifier
                       or biometric information is being collected or stored;




  1      https://www.meridiansenior.com/find-your-
  cominunity#/locations?amenities=&geolocationError=0 &latitude=undefined&longitude=un
  defined&searchRadius=50&sortBy=state then city&state=Illinois      (last   visited     on
  November 19, 2020); https://www.villasofhollybrook.com/find-your-community/ (last visited
  on November 19, 2020).

                                              ~
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               (2)     informs the subject ... in writing of the specific purpose and
                       length of term for which a biometric identifier or biometric
                       information is being collected, stored, and used; and
               (3)     receives a written release executed by the subject of the
                       biometric identifier or biometric information or the
                       subject's legally authorized representative.

  740 ILCS 14/15(b).

                                            FACTS

        14.    From 2019 to 2020, Plaintiff worked as an hourly employee at

  Defendant's "Villas of Holly Brook Herrin" location on Rushing Drive, Carterville, IL

  62918 and Meridian Senior Living issued her pay.

        15.     Beginning in or around August 2019, Defendant required Plaintiff to

  permit      her    . fingers   to    be     scanned      to     participate      in   the

  payroll/timekeeping/employment system,          and    she    was   thereafter    scanned

  approximately four times per workday: clock in, clock out for break, clock in after

  break, and clock out.

        16. . Beginning in or around December 2019 or January 2020, Defendant

  required Plaintiff to permit her retina or iris to be scanned to participate in the

  payroll/timekeeping/employment       system,    and   she     was   thereafter    scanned

  approximately four times daily, as provided above.

        17.    Defendant likewise collected biometrics from other persons employed in

  the various facilities Defendant owns, operates, or manages in Illinois.

        18.    Defendant did not inform Plaintiff in writing of the specific purpose and

  length of term for which it was collecting, storing, and using her biometrics.



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                        19.    Defendant did not provide a publicly-available retention schedule and

                 guidelines for permanently destroying collected biometrics, such as Plaintiff's.

                        20.    Plaintiff did not consent in writing to the collection, storage, use, sale,

                 lease, dissemination, disclosure, redisclosure, or trade of, or for Defendant to

                 otherwise obtain, her biometrics.

                        21.    Plaintiff did not sign any written release permitting Defendant to

                 collect, capture, or otherwise obtain her biometrics.

                        22.    Plaintiff does not know what Defendant has done with her biometrics.

                        23.    By this action, Plaintiff seeks liquidated damages and injunctive relief

                 for herself and a class of others.

                       24.     Plaintiff does not assert or include within this lawsuit any -person's

                 potential claim for any violation of BIPA that may have occurred at any time when

                 that person was- included within, covered by, or subject to a collective bargaining

                agreement. Any and all such claims are excluded and disclaimed from this lawsuit.

-- -- ---- -                                     CLASS ALLEGATIONS

                       25.    Pursuant to 735 ILCS 5/2-801, Plaintiff brings this action on behalf of

                 herself and the following proposed class:

                       All persons whose hand, finger, face, retina or iris was scanned in the
                       course of their employment at a facility owned, operated, or managed by
                       Meridian Senior Living within the State of Illinois.

                 Plaintiff anticipates modifying this proposed class definition, including proposing

                 subclasses where appropriate, after discovery about Defendant's collection or use of

                 biometrics, and whether Defendant has shared biometrics with any other person, and


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       will do so through either an amended complaint, a motion for class certification, or

       both pursuant to 735 ILCS 5/2-802(b).

             26.    This action is brought and may properly be maintained as a class action.

       Each element of Section 5/2-801 is satisfied: (1) the class is so numerous that joinder

       of all members is impracticable; (2) there are questions of law or fact common to the

       class; (3) the representative party will fairly and adequately protect the interests of

       the class; and (4) the class action is an appropriate method for the fair and efficient

      adjudication of the controversy.

                                   Numerosity/impracticalit~~of joinder
             27.    Plaintiff does not know the precise number of class members or their

      identities, but will obtain those in discovery from Defendant's records or the records

      of third parties. On information and belief, the class consists of more than 40 persons

      and; thus; is so numerous that individual joinder of each member is impracticable. In

--    any event, individual joinder of absent class members is impracticable, and a class

      action is the superior method of resolving this case, for a variety of reasons: (1) class

      treatment of these claims promotes judicial economy, as the class members' claims

      are governed by Illinois law and involve only common issues about Defendant's

      collection or use of biometrics; (2) class members lack sufficient motivation to litigate

      as joined plaintiffs (or file and prosecute individual actions); (3) class members lack

      financial resources to litigate as joined plaintiffs and will benefit by pooling efforts

      and resources toward a common cause; (4) class members are geographically

      dispersed in Illinois; (5) Defendant's records are expected to be sufficient to identify



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              and notify the class members; and (6) Plaintiff seeks both liquidated damages and

              injunctive relief for all class members.

                                                   Commonality

                    28.    There is a well-defined community of interest and there are common

              questions of law and fact that predominate over any questions affecting only

              individual members of the class. These common legal and factual questions, which do

              not vary from one class member to another, and which may be determined without

              reference to the individual circumstances of any class member, include, but are not

              limited to the following:

                           a.     Did Defendant collect, capture, or otherwise obtain biometrics?

                           b.     Did Defendant use biometrics to identify persons in Illinois?

                           C.     Did Defendant develop and make available to the public a written

- -   -_- -          policy -establishing -a - -retention schedule and guidelines for permanently     --- -

                    -destroying biometric identifiers and information when the initial purpose for

                    collecting or obtaining such identifiers or information has been satisfied or

                     within three years of the individual's last interaction with Defendant,

                     whichever occurs first?

                           d.     Did Defendant disclose in writing that it was collecting and

                    storing biometrics?

                           e.     Did Defendant disclose in writing the specific purpose and length

                     of term for which it collected, stored, and used biometrics?

                           f.     Did Defendant obtain a written release before collecting or

                    capturing biometrics?
                                                         7
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                    g.        Has Defendant negligently violated BIPA, 740 ILCS 14/15(a)?

                    h.        Has Defendant intentionally or recklessly violated BIPA, 740

             ILCS 14/15(a)?

                    i.        Has Defendant negligently violated BIPA, 740 ILCS 14/15(b)(1)?

                    j.        Has Defendant intentionally or recklessly violated BIPA, 740

             ILCS 14/15(b)(1)?

                    k.        Has Defendant negligently violated BIPA, 740 ILCS 14/15(b)(2)?

                    1.        Has Defendant intentionally or recklessly violated BIPA, 740

             ILCS 14/15(b)(2)?

                    M.        Has Defendant negligently violated BIPA, 740 ILCS 14/15(b)(3)?

         -          n.        Has Defendant intentionally or recklessly violated BIPA, 740          -

             ILCS 14/15(b)(3)?

                   . _o. ._   Has Defendant disclosed Plaintiffs or the class's biometrics to any

             third party?

=-                  p.        Has Defendant sold, leased, traded, or otherwise profited from

             Plaintiff and the class's biometrics?

                    q.        Should the Court award injunctive relief?

                    r.        Should the Court award attorney's fees and costs?

                                       Adequacy of representation

             29.    Plaintiff is an adequate representative of the class. Her interests do not

       conflict with the interests of the class she seeks to represent. Defendant collected

       Plaintiff's biometrics without her informed written consent or release. Plaintiff is


                                                    N.
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  committed to the vigorous prosecution of this action and has retained attorneys

  competent and experienced in complex class action litigation. Plaintiff and her

  attorneys will fairly and adequately protect the interest of inembers of the class.

                     A class action is the appropriate method for the
                     fair and efficient adjudication of the controversy

         30.    A class action is the appropriate method for the fair and efficient

  adjudication of this lawsuit. The likelihood of individual class members prosecuting

  separate claims is remote. Individual litigation would burden the court system. Relief

  concerning the rights of the entire class, including Plaintiff, under the Illinois laws

  herein alleged would be proper. Plaintiff envisions no difficulty in the management

  of this action as a class action.

                                  COUNT I
                       VIOLATIONS OF THE BIOMETRIC
                INFORMATION PRIVACY ACT, 740 ILCS 14/1, ET SEQ.
                                 (Damages)

     _   31.    Plaintiff incorporates the preceding paragraphs as though fully set forth

  herein, and brings Count I on behalf of herself and the class.

         32.    BIPA is a remedial statute designed to protect a person's privacy by

  requiring disclosures and written consent in connection with the collection of

  biometrics, including fingerprints, fingerscans, and retina or iris scans. 740 ILCS 14/5

  (g), 14/10.

         33.    The Illinois Legislature's recognition of the importance of the public

  policy underpinning its enactment is written in BIPA. E.g., 740 ILCS 14/5 (a), (c), (g).

         34.    Defendant's acts and omissions, at relevant times, have occurred in the

  course of trade or commerce in the State of Illinois. Defendant is a"private entity"
                                             9
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  that collected and possessed Plaintiff"s and the other class members' biometrics,

  within the meaning of BIPA as set forth more fully above.

        35.    Defendant collected, captured, or otherwise obtained biometric

  identifiers or biometric information from Plaintiff and the other class members, as

  defined by BIPA. 740 ILCS 14/10.

        36.    Section 14/15(a) of BIPA provides:

               A private entity in possession of biometric identifiers or biometric
               information must develop a written policy, made available to the
               public, establishing a retention schedule and guidelines for
               permanently destroying biometric identifiers and biometric
               information when the initial purpose for collecting or obtaining
               such identifiers or information has been satisfied or within 3
               years of the individual's last interaction with the private entity,
               whichever occurs first. Absent a valid warrant or subpoena issued
               by a court of competent jurisdiction, a private entity in possession
               of biometric identifiers or biometric information must comply
               with its established retention schedule and destruction
               guidelines.

        37.    In violation of Sectio-n 14/15(a), Defendant failed to make such a written

  policy publicly._available to Plaintiff and the other class members.

        38.    Section 14/15(b) of BIPA provides:

               No private entity may collect, capture, purchase, receive through
               trade, or otherwise obtain a person's or a customer's biometric
               identifier or biometric information, unless it first: (1) informs the
               subject or the subject's legally authorized representative in
               writing that a biometric identifier or biometric information is
               being collected or stored; (2) informs the subject or the subject's
               legally authorized representative in writing of the specific
               purpose and length of term for which a biometric identifier or
               biometric information is being collected, stored, and used; and (3)
               receives a written release executed by the subject of the biometric
               identifier or biometric information or the subject's legally
               authorized representative.

        39.    In violation of Section 14/15(b), Defendant collected, captured, or
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         otherwise obtained Plaintiff's and the other class members' biometrics without:

                        (i)    informing them, in writing, that their biometrics were being

               collected or stored;

                        (ii)   informing them, in writing, of the specific purpose and length of

               term for which the biometrics were being collected, stored, and used;

                        (iii) first obtaining a written release executed by them.

               40.      Defendant collected, captured, or otherwise obtained Plaintiff and other

         class members' fingerprints or fingerscans, knowingly caused their biometrics to be

    - collected, captured, or otherwise obtained, without their informed written consent or

         release, and without making publicly available a retention schedule providing

         guidelines for permanently destroying biometric identifiers and information.

               41.      Defendant's above-described conduct was negligent.

- __ .       -. _42.. -._.Defendant's above-described conduct was reckless.

               43:      As a result of Defendant's conduct, Plaintiff and the class have been

         damaged in-violation of BIPA, and each class member is entitled to the maximum

         applicable liquidated damages provided under BIPA for each time Defendant

         collected, captured, or otherwise obtained his or her biometric identifier or biometric

         information.

                                           COUNT II
                               iTIOLATIONS OF THE BIOMETRIC
                        INFORMATION PRIVACY ACT, 740 ILCS 14/1, ET SEQ.
                                       (Injunctive Relief)

               44.      Plaintiff incorporates the preceding paragraphs as though fully set forth

         herein, and brings Count II on behalf of herself and all others similarly situated.

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        45.    Injunctive relief is available under BIPA. 740 ILCS 14/20(4).

        46.    Plaintiff and the other class members are entitled to an order requiring

  Defendant to make disclosures consistent with BIPA and enjoining further unlawful

  conduct.

        47.    Plaintiff seeks an order requiring Defendant to publicly disclose a

  written policy establishing a retention schedule and guidelines for permanently

  destroying biometric identifiers and biometric information when the initial purpose

  for collecting or obtaining such identifiers or information has been satisfied or within

  3 years of the individual's last interaction with the private entity, whichever occurs

  first, as required by 740 ILCS 14/15(a).

        48.    Plaintiff seeks an order requiring Defendant to disclose whether it has

  retained the biometrics of Plaintiff and other class members, whether any third party

  has .had access _to them or. is in possession of them, or whether and when such

  biometrics were permanently destroyed, consistent with BIPA.

    --- ---49. - Third, due to the above-described facts, and Defendant's failure to make

  publicly available facts demonstrating BIPA compliance as BIPA requires, the Court

  should: (a) order Defendant to disclose if it has sold, leased, traded, or otherwise

  profited from biometrics, or disseminated any biometrics; (b) order Defendant to

  disclose the standard of care that it has employed to store, transmit, and protect the

  biometrics that it collected, scanned, or otherwise obtained and retained; and (iii)

  enjoin Defendant from further BIPA non-compliance. 740 ILCS 14/15(c), (d), (e).

        50.    Plaintiff and the other class members' legal interests are adverse to



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  Defendant. There is a substantial controversy between the class and Defendant

  warranting equitable relief so that the class members may obtain the protections that

  BIPA entitles them to receive.

        51.    Plaintiff and the other class members do not know what Defendant has

  done (or intends to do) with their biometrics. Absent injunctive relief, Defendant is

  likely to continue its BIPA non-compliance and Plaintiff and other class members will

  continue to be in the dark on the subject.

        52.    For the reasons set forth above, Plaintiff is likely to succeed on the

  merits of her claims.

         53.   BIPA establishes the importance, value, or sensitive nature of biometric

  identifiers and biometric information, along with- the need to protect and control

  them. Plaintiff is entitled to know what Defendant has done with it as set forth above,

  _and to an affirmation that all of her biometric identifiers and information have been    _

  permanently destroyed as required by 740 ILCS 14/15(a).

         54.   The gravity of the harm to Plaintiff and the class absent equitable relief

  outweighs any harm to Defendant if such relief is granted.

         55.   As a result, Plaintiff requests commensurate injunctive relief.

                                   PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, individually and on behalf of all others similarly

  situated, prays that the Court grant the following relief.

        A.     Certify the class, and designate Plaintiff as class representative and her

               counsel as class counsel;

         B.    Find that Defendant violated BIPA, as alleged above;
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            C.    Award to Plaintiff and the other class members $1,000 in liquidated

                  damages for each time Defendant collected, captured, or otherwise

                  obtained his or her biometric identifier or biometric information in

                  violation of BIPA;

            D.    If Defendant intentionally or recklessly violated BIPA, then award to

                  Plaintiff and the other class members $5,000 in liquidated damages for

                  each time it collected, captured, or otherwise obtained his or her

                  biometric identifier or biometric information in violation of BIPA;

            E.    Award to Plaintiff and each of the other class members $1,000 in

                  liquidated damages for Defendant's violation of 740 ILCS 14/15(a);

            F.    Provide injunctive relief for Plaintiff and the entire class, as set forth

                  above; and

            G.    Award .reasonable attorney's fees and costs, including expert witness

-                 fees and other litigation expenses.

                                        JUR,Y DEMAND

            Plaintiff demands a trial by jury as to all matters so triable.




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  Dated: November 19, 2020               Respectfully submitted,

                                         ROXANN HALL, individually and as the
                                         representative of a class of similarly-
                                         situated persons,

                                         By: /s/ Phillip A. Bock
                                             One of their attorneys

  Phillip A. Bock, Esq. (ARDC 6224502)
  BOCK LAw FIRM, LLC
  134 N. La Salle Street, Suite 1000
  Chicago, IL 60602
  Tel: (312) 658-5501
  Fax: (312) 658-5555
  service@classlawyers.com

  Paul A. Marks, Esq.
  SIVIA BUSINESS & LEGAL SERVICES, P.C.
  217 S. Main Street
  Edwardsville, IL 62025
  618-659-4499
  855-319-7816 (fax)
  pmarks@sivialaw.com




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                                                                                                       FILED
                                                                                 Williamson Co. Circuit Court
                                                                                          1st Judicial Circuit
                                                                                  Date: 11/23/2020 4:08 PM
                                                                                          Andrew W. Wilson


           IN THE CIRCLTIT COURT OF WILLIAMSON COUNTY, ILLINOIS
                             CHANCERY DIVISION

  ROXANN HALL, individually and
  as the representative of a class of
  similarly situated persons,
                                             No.    2020CH80
                      Plaintiff,

        ► +A                                 CLASS ACTION

  MERIDIAN SENIOR LIVING, LLC,

                      Defendant

                PLAINTIFF'S MOTION FOR CLASS CERTIFICATION

        Plaintiff Roxann Hall, on behalf of herself and all others similarly situated

  ("Plaintiff"), by counsel, respectfully moves this Court, pursuant to 735 ILCS 5/2-

  801 et seq., to certify the proposed class in this case, offering the following in

  support thereof:

        1.     Plaintiff proposes the following class:

        All persons whose .hand, finger, face, retina or iris was scanned in the
        course of their employment at a facility owned, operated, or managed
        by Meridian Senior Living within the State of Illinois.

  The definition is appropriate because the class members can be ascertained by

  reference to objective criteria. The Court should certify the class, so this controversy

  can be resolved in a single action, rather than through separate individual actions.

        2.     There are questions of fact or law common to the class, which common

  questions predominate over any questions affecting only individual members. 735

  ILCS 5/2-801 (2). The case involves common fact questions about MV

  Transportation, Inc., ("Defendant") practice of collecting "biometric identifiers" or
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  "biometric information" and common legal questions under the Biometric

  Information Privacy Act, 740 ILCS 14/1, et seq. ("BIPA"), such as:

               a.    Did Defendant collect, capture, or otherwise obtain biometrics?

               b.    Did Defendant use biometrics to identify persons in Illinois?

               C.    Did Defendant develop and make available to the public a

        written policy establishing a retention schedule and guidelines for

        permanently destroying biometric identifiers and information when the

        initial purpose for collecting or obtaining such identifiers or information has

        been satisfied or within three years of the individual's last interaction with

        Defendant, whichever occurs first?

               d.    Did Defendant disclose in writing that it was collecting and

        storing biometrics?

                     Did D_efendarit disclose in writing the specific purpose and

        length of terni for which it collected, stored, and used biometrics?

       --      f.   - Did Defendant obtain a written release before collecting or

        capturing biometrics?

               g.    Has Defendant negligently violated BIPA, 740 ILCS 14/15(a)?

               h.    Has Defendant intentionally or recklessly violated BIPA, 740

        ILCS 14/15(a)?

               i.    Has Defendant negligently violated BIPA, 740 ILCS 14/15(b)(1)?

               j.    Has Defendant intentionally or recklessly violated BIPA, 740

        ILCS 14/15(b)(1)?



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              k.     Has Defendant negligently violated BIPA, 740 ILCS 14/15(b)(2)?

              1.     Has Defendant intentionally or recklessly violated BIPA, 740

        ILCS 14/15(b)(2)?

               M.    Has Defendant negligently violated BIPA, 740 ILCS 14/15(b)(3)?

               n.    Has Defendant intentionally or recklessly violated BIPA, 740

        ILCS 14/15(b)(3)?

               o.    Has Defendant disclosed Plaintiff's or the class's biometrics to

        any third party?

               P.    Has Defendant sold, leased, traded, or otherwise profited from

        Plaintiff and the class's biometrics?

               q.    Should the Court award injunctive relief?

               r.    Should the Court award attorney's fees and costs?

        3.. _. .__Plaintiff .and_her co_unsel will adequately protect the interests of the

 .-class. - 735 ILCS 5/2-801 (3). The adequate representation requirement is designed

  to ensure that all class members will receive proper, efficient, and appropriate

  protection of their interests in the presentation of the claims. The adequacy of

  representation requirement is satisfied if Plaintiff"s counsel is qualified,

  experienced, and generally able to conduct the proposed litigation and there are no

  antagonistic interests between the representative party and the class. Plaintiff has

  retained counsel experienced in class actions and the BIPA.

        4.     This class action is an appropriate method for the fair and efficient

  adjudication of the controversy. 735 ILCS 5/2-801 (4). Section 5/2-801 (4) requires



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      that the "class action is an appropriate method for the fair and efficient adjudication

      of the controversy." 735 ILCS 5/2-801(4). When the first three statutory criteria are

      met, this "manifest[s] that the final requirement of the statute is fulfilled."

               5.    Moreover, when determining whether a class action is appropriate,

      courts often consider whether the class action device can best secure economies of

      time, effort and expenses and promote uniformity of decision or accomplish other

      ends of equity and justice in the case under consideration. Here, the individual class

      members suffered damages that while cognizable, are small in terms of their dollar

      value.

               6.    Plaintiff respectfully requests that the Court permit her to submit a

      brief in support of this motion after she conducts discovery relevant and necessary

      to the Court's determination of the class certification issue.

               WHEREFORE, Plaintiff prays that this Court enter an order pursuant to 735

-     ILCS 5/2-801 certifying the class, appointing Plaintiff as the class representative,

      and appointing Plaintiff's attorneys as class counsel.




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  Dated: November 19, 2020              Respectfully submitted,

                                        ROXANN HALL, individually and as the
                                        representative of a class of similarly-
                                        situated persons,

                                        By: /s/ Phillip A. Bock
                                            One of their attorneys

 Phillip A. Bock, Esq. (ARDC 6224502)
 BOCK LAW FIRM, LLC
 134 N. La Salle Street, Suite 1000
 Chicago, IL 60602
 Tel: (312) 658-5500
 Fax: (312) 658-5555
 service@classlawyers.com

 Paul A. Marks, Esq.
 SIVIA BUSINESS & LEGAL SERVICES, P.C.
 217 S. Main Street
 Edwardsville, IL 62025
 618-659-4499
 855-319-7816 (fax)
 pmarks@sivialaw.com




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